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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  QORVO, INC.,                                    )
                                                  )
                        Plaintiff,                )
                                                  )
         v.                                       )   C.A. No. 21-1417 (JPM)
                                                  )
  AKOUSTIS TECHNOLOGIES, INC. and                 )
  AKOUSTIS, INC.,                                 )
                                                  )
                        Defendants.               )

                        [PROPOSED] AMENDED FINAL JUDGMENT

  This action having come before the Court for a trial by jury, the issues having been tried and the
  jury duly rendered its verdict on May 17, 2024 (D.I. 601),

  IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with the
  jury verdict for Qorvo, Inc.:

  Claims 1 and 12 of U.S. Patent No. 7,522,018 are found to be INFRINGED by Akoustis
  Technologies, Inc. and Akoustis, Inc.

  Claims 9 and 10 of U.S. Patent No. 9,735,755 are found to be INFRINGED by Akoustis
  Technologies, Inc. and Akoustis, Inc.

  Akoustis Technologies, Inc. and Akoustis, Inc. were unjustly enriched by misappropriating thirty-
  seven (37) trade secrets from Qorvo, Inc. The misappropriation was willful and malicious.

  An Amended Final Judgment is entered against Akoustis Technologies, Inc. and Akoustis, Inc.
  consisting of the amounts of:

     •   $38,595,023.00 caused by Akoustis Technologies, Inc.’s and Akoustis, Inc.’s infringement
         and misappropriation. Of these, unjust enrichment damages for misappropriation of trade
         secrets constitute $31,315,215.00, exemplary damages constitute $7,000,000.00, and
         damages for patent infringement constitute $279,808.00;

     •   $11,743,745.54 in attorneys’ fees awarded by the Court (D.I. 690);

     •   $51,782.00 in pre-judgment interest for patent infringement (D.I. 699);

     •   $6,589,064.41 in pre-judgment interest for misappropriation of trade secrets under North
         Carolina law (D.I. 699);
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     •   Post-judgment interest on the damages awarded by the jury (i.e., $38,595,023.00) at the
         rate of 5.138%, calculated daily and compounded annually from May 20, 2024 (D.I. 602,
         690) until such time as Akoustis Technologies, Inc. and Akoustis, Inc. pay Qorvo, Inc. the
         amount awarded by the jury and post-judgment interest owed;

     •   Post-judgment interest on the award of attorneys’ fees (i.e., $11,743,745.54) at the rate of
         5.138%, calculated daily and compounded annually from September 9, 2024 (D.I. 690)
         until such time as Akoustis Technologies, Inc. and Akoustis, Inc. pay Qorvo, Inc. the
         attorneys’ fees and post-judgment interest owed;

     •   Post-judgment interest on the award of pre-judgment interest for patent infringement (i.e.,
         $51,782.00) at the rate of 5.138%, calculated daily and compounded annually from
         September 10, 2024 (D.I. 699) until such time as Akoustis Technologies, Inc. and Akoustis,
         Inc. pay Qorvo, Inc. the pre-judgment interest for patent infringement and post-judgment
         interest owed; and

     •   Post-judgment interest on the award of pre-judgment interest for misappropriation of trade
         secrets under North Carolina law (i.e., $6,589,064.41) at the rate of 5.138%, calculated
         daily and compounded annually from September 10, 2024 (D.I. 699) until such time as
         Akoustis Technologies, Inc. and Akoustis, Inc. pay Qorvo, Inc. the pre-judgment interest
         for misappropriation of trade secrets under North Carolina law and post-judgment interest
         owed.

  An Amended Final Judgment is further entered against Akoustis Technologies, Inc. and Akoustis,
  Inc., granting injunctive relief as set forth in the Permanent Injunction (D.I. 710).


  This Amended Final Judgment does not reset the dates for calculations of post-judgment and pre-
  judgment interest.



  IT SO ORDERED this _________ day of ________________, 2024.




                                                    JON P. McCALLA
                                                    UNITED STATES DISTRICT JUDGE




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